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Instructions for Attorneys completing the electronic version of
the Eleventh Circuit Transcript Information Form
An electronic version of this form is made available to simplify completion and transmittal. The
following instructions and guidance are provided.

1. Access the Transcript Information Form from the forms page of the Northern District of
Florida website:
http:/Awww.flnd.uscourts.gov/forms/eleventh-circuit-transcript-information-form

2. Complete the form electronically using Adobe Acrobat or other PDF editor. The form
should be signed using the s/ name convention for electronic signatures.

3. Save the completed form as a PDF document (using the full version of Adobe Acrobat,
PDF 995, etc.) or “print” the completed form to a PDF file (using programs which only
have PDF print capabilities). The save option is preferred since it then allows the court
reporter to complete their portions electronically.

4, File the form electronically with the district court using the CM/ECF system.
From the main CM/ECF menu go to:

Civil or Criminal Events; Appeal Documents; Transcript Request Appeal Part I.

5. From the notice of electronic filing, access the PDF image of the form and print it for the |
following step. This version of the document contains the case number, filing date, and
document number information in a header along the top.

6. Mail the printed form to the Eleventh Circuit Court of Appeals; 56 Forsyth St, NW;
Atlanta, GA 30303.

7. Send the previously saved PDF file (from Step 3) as an email attachment to the
appropriate official court reporter’s email address:

 

 

 

 

 

 

 

 

Official Court Reporter Email address

Boland, Donna donna boland@find.uscourts.gov
Gagnon, Judy jgagnon@comcast.net

Hague, Megan megan.a.hague@gmail.com

Wycoff, Julie julicawycotf@gmail.com

Contract Reporters via

and Retired reporter_supervisor@find.uscourts.gov

 

 

 

 

 

8, (For CJA Appointed Attorneys). Please remember to submit your voucher through the
eVoucher system at: https://evadweb.ev.uscourts.gov/CJA_fln_prod/CJAeVoucher/

 
